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                                                                                              E-FILED
                                                           Thursday, 20 September, 2012 01:40:27 PM
                                                                        Clerk, U.S. District Court, ILCD

                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE CENTRAL DISTRICT OF ILLINOIS
                                     URBANA DIVISION

UNITED STATES SECURITIES                     )
AND EXCHANGE COMMISSION,                     )
                                             )
       Plaintiff,                            )
                                             )
                v.                           )
                                             )
TIMOTHY J. ROTH,                             )
                                             )
       Defendant,                            )
                                             )       Case No. 11-cv-02079
                and                          )
                                             )
KEYOP EXERCISE, INC., MEZOLINK, INC.         )
(F/K/A INTEGRATED DATA SECURITY              )
INC.), VCN CELECT.ORG, LLC,                  )
VCOMM NETWORKS OF CANADA,                    )
                                             )
       Relief Defendants.                    )


                     RECEIVER’S SECOND APPLICATION FOR COMPENSATION

       NOW COMES the Receiver, Timothy L. Bertschy, and prays this Court for payment of

compensation for the Receiver and the Receiver’s attorneys, stating as follows:

       1.       The Receiver was appointed by this Court on March 31, 2011. (See D/E #31).

       2.       Since that date, the Receiver and his attorneys have pursued collection and

marshalling of assets, have investigated and evaluated potential claims of the receivership, and

have filed claims for the receivership, among other activities.     The Receiver’s activities are

summarized in the reports filed with this Court, and the Receiver has appeared personally in

Court and described the efforts of the Receiver to date.




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       3.     The Receiver presently has in bank accounts the sum of ONE HUNDRED SEVENTY

ONE THOUSAND SEVEN HUNDRED FIFTY FIVE AND 82/100 DOLLARS ($171,755.82).                    The

Receiver anticipates collecting additional funds from previously executed sales contracts, real

property sales, and pending claims.

       4.     In the first Application for Compensation the Receiver requested and received the

Court’s approval of an interim payment to the Receiver of TWO HUNDRED FIFTY THOUSAND

AND NO/100 DOLLARS ($250,000.00) in fees and EIGHT THOUSAND EIGHT HUNDRED SEVENTY

AND 89/100 DOLLARS ($8,870.89) in expenses. Prior to the interim payment the total fees were

THREE HUNDRED SIXTEEN THOUSAND TWO HUNDRED EIGHTY THREE AND NO/100 DOLLARS

($316,283.00) for work performed March 31, 2011 through October 31, 2011. The payment of

TWO HUNDRED FIFTY THOUSAND AND NO/100 DOLLARS ($250,000.00) reduced the

outstanding fees to SIXTY SIX THOUSAND TWO HUNDRED EIGHTY THREE AND NO/100

DOLLARS ($66,283.00).

       5.     This is the Receiver’s second Application for Compensation. The fees incurred

from November 1, 2011 through July 31, 2012 amount to ONE HUNDRED SEVENTY FOUR

THOUSAND EIGHT HUNDRED NINE AND 25/100 DOLLARS ($174,809.25) with legal expenses of

THREE THOUSAND EIGHT HUNDRED SIXTY NINE AND 09/100 DOLLARS ($3,869.09) incurred. At

this time we are requesting an additional interim payment of ONE HUNDRED TWENTY FIVE

THOUSAND AND NO/100 ($125,000.00) in fees and THREE THOUSAND EIGHT HUNDRED SIXTY

NINE AND 09/100 DOLLARS ($3,869.09) in expenses. This partial billing represents time and

expense for Receivership administration (the collection and marshalling of assets) but does not

include time expended on contingency matters. Attached hereto is a summary billing for the



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work for which payment is requested. A detailed billing has been sent to the Plaintiff SEC for

review and comment, per this Court’s request.

        6.      Generally,    the   administrative       costs   and   expenses   associated   with   the

management and operation of the receivership are the first to be paid out of the funds held in

the receivership. See Gaskill v. Gordon, 27 F.3d 248, 251 (7th Cir. 1994) (“As a general rule, the

expenses and fees of a receivership are a charge upon the property administered . . . Courts in

equity have allowed liens for receivership expenses to take priority over secured creditors’

interests in the property when the receiver’s acts have benefited the property.”) (citations

omitted); In re Columbia ribbon Co., 117 F.2d 999, 1002 (3rd Cir. 1941) (“[i]n receivership(s) . . . it is

held that the compensation of receivers and their counsel is to be given priority of payment over

taxes, receiver’s certificates and other receivership creditors.”) (citations omitted).

        7.      As additional funds are collected by the Receiver, the Receiver will make

additional applications for compensation, including compensation for the unbilled and unpaid

amounts to date.

        8.      Through the Receiver’s website, the Receiver is providing a copy of this notice to

all current claimants who have submitted claims to the receivership, as well as all taxing

authorities who have notified the Receiver of alleged tax liabilities. Similarly, notice of the

hearing set on this motion will be provided to said claimants and taxing authorities.

        WHEREFORE, the Receiver respectfully prays this Court to grant this Application for

Compensation and to allow the Receiver to pay to the Receiver from the Receiver’s accounts

ONE HUNDRED TWENTY FIVE THOUSAND AND NO/100 DOLLARS ($125,000.00) in fees and

THREE THOUSAND EIGHT HUNDRED SIXTY NINE AND 09/100 DOLLARS ($3,869.09) in expenses,

for a hearing on this motion, and for such other and further relief as the Court deems proper.

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                                                           Timothy L. Bertschy, Receiver

                                                        By:____s/Timothy L. Bertschy_______
                                                           Heyl, Royster, Voelker & Allen
                                                                124 SW Adams Street
                                                                     Suite 600
                                                                Peoria, Illinois 61602
                                                             Telephone: 309.676.0400
                                                               Facsimile: 309.676.3374
                                                                   ARDC #199931




                                     CERTIFICATE OF SERVICE

I hereby certify that on September 20, 2012, I electronically filed the foregoing document with
the Clerk of Court for the U.S. District Court, Central District of Illinois, using the electronic filing
system of the Court. The electronic case filing system sent a “Notice of Electronic Filing” to all
attorneys of record who have consented in writing to accept this Notice as service of this
document by electronic means.

Further, I e-mailed this document to counsel for Relief Defendant Mezolink, Inc. at
DHelfrey@hnjlaw.com and to counsel for Relief Defendant VCN Celect.org, LLC at
mab@mabeckerlaw.com.




                                                        _____s/Timothy L. Bertschy_____
                                                               Timothy L. Bertschy




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                     SUMMARY OF BILLING BY ATTORNEY/ASSISTANT


Set forth below is a summary of the work performed by identified professionals or assistants in
the collection and marshalling of assets to date. This is a partial billing of all services as
indicated in the Receiver’s First Application for Compensation:

                    Professional                         Time/Unit       Rate       Amount

Timothy L. Bertschy – Overall supervision and              59.10        $250.00     $14775.00
involvement in all aspects of the receivership
activity.
Patrick D. Cloud – Work on insurance questions             5.00         $225.00      $1,125.00
relating to collection and marshalling of assets to
date.
William I. Covey – Work with respect to the                3.30         $250.00        $825.00
drafting of contracts for primary sales of
receivership assets.
Stacy E. Crabtree – Involved in all aspects of            235.40        $175.00     $41,195.00
collection and marshalling assets with particular
work spent with respect to asset sales agreements.
Rachel P. Ford – Involved in all aspects of collection    160.20        $90.00      $14,418.00
and marshalling assets with particular involvement
with respect to receiving claims and creating claim
log.
Alex S. Ketay- Performed legal research with               11.10        $90.00         $999.00
respect to miscellaneous receivership issues.
Andrew J. Keyt – Involved in all aspects of asset         106.10        $200.00     $21,220.00
collection and marshalling.
Sheri J. Kyle- Assisted with court filing.                 1.40         $200.00        $280.00
Emily Perkins- Performed legal research with               2.90          $90.00        $261.00
respect to miscellaneous receivership issues.
Patrick E. Poston – Performed legal research with          43.10        $175.00      $7,542.50
respect to miscellaneous receivership issues.
Gregory J. Rastatter - Involved in all aspects of         146.30        $200.00     $29,260.00
asset collection and marshalling.
John M. Redlingshafer- Involved in select areas of         2.00         $200.00        $400.00
review of contracts.
Vicki L. Schumacher – Involved in aspects of               72.50        $90.00       $6,525.00
collection and marshalling of assets, primarily
matters with a location in Urbana, Illinois.
Brian M. Smith – Involved in all aspects of asset         201.00        $175.00     $35,175.00
collection and marshalling, with the primary location
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in Urbana, Illinois.
Corey Wanless – Information technology employee          3.70         $90.00         $333.00
of Heyl, Royster, Voelker & Allen who assisted
primarily in maintaining the Celect/Mezolink
businesses until they could be sold.
Julian C. Watkins- Performed legal research with         1.90         $175.00         332.50
respect to miscellaneous receivership issues.
Maura Yusof – Assisted in obtaining information          1.60         $225.00        $360.00
from Chicago court on Pretzel & Stouffer lawsuit.



Total legal services - $174,809.25

Total legal expenses - $3,869.09

Total amount of legal services and legal expenses From November 1, 2011 through July 31, 2012
- $178,678.34
